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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )                     4:06CR3016
                                              )
              v.                              )
                                              )
ARMANDO GARCIA-DELACRUZ,                      )         MEMORANDUM AND ORDER
                                              )      REGARDING DEFENDANT’S MOTION
                      Defendants.             )      FOR A PSYCHIATRIC EXAMINATION
                                              )


       On July 19, 2010, a meeting was held by counsel for the defendant and counsel for the
plaintiff with me regarding the defendant’s motion for a psychiatric examination, filing 191. The
purpose of the meeting was to see what could be done to move that motion to completion. In
accordance with our discussion,
       IT IS ORDERED that:

       1.     the defendant’s counsel shall seek to learn from an expert witness, presumably but
              not necessarily a psychiatrist, whether it is possible to form a reasonably reliable
              expert opinion of whether, during all the time of the existence of the conspiracy of
              which the defendant has been convicted, the defendant was either insane or suffered
              from diminished capacity within the meaning of § 5K2.13 of the Sentencing
              Guidelines;

       2.     if the answer to paragraph 1 is “yes,” then (a) the defendant’s counsel shall learn
              what it would take by way of information to enable the expert to develop such an
              opinion and what would be the expected fee, and (b) the plaintiff’s counsel and the
              defendant’s counsel shall determine whether arrangement can be made to take a
              deposition by video conference of Armando Garcia-Delacruz for the purpose of
              gathering any facts known to the defendant that may tend to show signs of insanity
              or such diminished capacity during the life of the conspiracy of which the defendant
              has been convicted;

       3.     regardless of whether the answer to paragraph 1 is “yes,” or “no,” the information
              obtained from (a) and (b) shall be sent to me and the plaintiff’s counsel, from which
              I shall decide whether to authorize the defendant’s counsel to engage such an expert
              and whether to authorize the taking of a deposition taken by video conference of the
              defendant;
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      4.     the actions set out in paragraphs 1, 2 and 3 of this Memorandum and Order shall be
             completed and the results provided to me on or before August 23, 2010, or at such
             later time as may be approved by me upon a motion for an extension of time; and

      5.     if counsel for the defendant, after completion of the matters that are the subject of
             paragraphs 1, 2, 3, and 4, shall determine that in her professional judgment the
             motion for psychiatric examination, filing 191, should be pursued on behalf of the
             defendant, she shall submit to me a proposed order granting the defendant’s motion
             for psychiatric examination (see NECrimR.12.2) in the manner set out in my
             Memorandum and Order on Defendant’s Motion for Psychiatric Examination, filing
             199. Otherwise, counsel for the defendant shall suggest to me some other desired
             procedure, or submit to me the defendant’s motion for psychiatric examination for
             resolution, or withdraw the defendant’s motion for psychiatric examination, all on
             or before August 23, 2010.

      Dated July 26, 2010.

                                    BY THE COURT

                                    s/ Warren K. Urbom
                                    United States Senior District Judge
